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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF NEW YORK


 FIVE STAR BANK,
                                        Plaintiff,         CASE NO. 6:24-cv-6153-FPG
                             v.

 KATHERINE MOTT, ROBERT HARRIS;                            CIVIL ACTION
 KRM EVENTS, LLC; KATHERINE’S ON
 MONROE, LLC; THE DIVINITY ESTATE
 AND CHAPEL, LLC; KNC ELEGANCE,
 LLC d/b/a THE WINTERGARDEN BY
 MONROES; 11 WEXFORD GLEN, LLC;
 RCC MONROES LLC; NAF REMODELING
 LLC; MONROES AT RIDGEMONT LLC;
 CRESCENT BEACH AT THE LAKE LLC;
 and MOTT MANAGEMENT LLC;

                                     Defendants.


                              ORDER APPOINTING RECEIVER
                             OVER THE DEFENDANT ENTITIES

         After reviewing the record in this matter, the parties submissions, including: the Complaint

of Plaintiff Five Star Bank (“Plaintiff”) (ECF No. 1); Plaintiff’s Motion for the Appointment of a

Receiver, the Supporting Declaration of Kevin Quinn dated March 11, 2024 and Memorandum in

Support (ECF No. 3); Defendant Katherine Mott’s Memorandum in Opposition dated March 22,

2024 (ECF No. 25); Defendant Robert Harris’ Memorandum in Opposition dated March 22, 2024

(ECF. No. 26); and Plaintiff’s Reply Memorandum of Law and Declaration of Michael Jozwiak

dated March 29, 2024 (ECF No. 31); and oral argument having been heard before the Court on

April 3, 2024 by Barclay Damon LLP (David G. Burch, Jr., Esq.), counsel for the Plaintiff,

Rothenberg Law (David Rothenberg, Esq.), counsel for Defendant Katherine Mott, KRM Events,

LLC, Katherine’s on Monroe, LLC, the Divinity Estate and Chapel, LLC, KNC Elegance, LLC

d/b/a The Wintergarden by Monroes LLC, NAF Remodeling LLC, Monroes at Ridgemont LLC,



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Crescent Beach at the Lake LLC and Mott Management LLC (“Defendant Entities”) and Cerulli,

Massare & Lembke (Matthew Lembke, Esq.), counsel for Defendant Robert Harris (“Defendant

Harris”) (collectively referred to as “Defendants”), and good cause having been shown for the

relief granted herein, it is;

          ORDERED that, pursuant to the Court’s Decision and Order dated April 4, 2024 (Hon.

Frank P. Geraci, Jr (ECF. No. 36), Plaintiff’s motion to appoint a receiver is GRANTED; and it is

further

          ORDERED that ________________ shall be appointed to serve as the Receiver for the

Defendants; and it is further

          ORDERED that Defendants shall cooperate fully with the Receiver and shall not hinder,

thwart or otherwise frustrate the Receiver’s powers and duties set forth in this Order; and it is

further

          ORDERED that Defendants shall pay the reasonable costs, fees and expenses of the

Receiver incurred in connection with the performance of his duties. All applications for costs, fees

and expenses of the Receiver and those employed by him shall be made by application to the Court

setting forth in reasonable detail the nature of such costs, fees and expenses; and it is further

          ORDERED that the Receiver shall have the following powers and duties:

          1. The Receiver shall have and retain and is hereby granted exclusive dominion and

               control over all of the financial affairs, including all cash, assets, books and records of

               the Entity Defendants.

          2. The Receiver’s authority hereunder shall be, and hereby is, vested in and extended to

               all of the Entity Defendants’ real property, equitable property, tangible and intangible

               personal property, interest, or assets of any nature and wherever located.



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         3. The Receiver is hereby authorized to take possession of the Entity Defendants’ existing

               bank or other financial accounts, including but not limited to: checking accounts,

               savings accounts, deposit accounts, brokerage accounts, payroll accounts, and money

               market accounts.

         4. The Receiver is hereby authorized to perform an accounting of the Entity Defendants’

               finances and assets and is obligated to protect and preserve the Entity Defendants’

               assets and future revenue streams.

         5. The Receiver is authorized to retain, employ, and pay for the services of individuals or

               firms selected by the Receiver in his discretion and in consultation with Plaintiff to

               assist in the performance of the Receiver’s duties.

         6. The Receiver is authorized to take any and all actions the Receiver, in his sole

               discretion, deems appropriate in order to ascertain the amount and location of the Entity

               Defendants’ assets.

         7. The Receiver shall have the duties and responsibilities of a receiver under law, shall be

               answerable and account to the Court for the Receiver’s activities, and shall maintain a

               detailed accounting of his activities, including without limitation, any and all funds

               collected and used for any purpose.

         8. The Receiver shall not be liable for any debts or liabilities of the Entity Defendants.

         9. The Receiver shall prepare and submit monthly reports of their activities to the Court

               and the parties.

IT IS SO ORDERED.
DATED: April 5, 2024
                                                         ____________________________________
                                                         HON. FRANK P. GERACI, JR.
                                                         UNITED STATES DISTRICT JUDGE



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